Case 2:11-cv-02120-SHM-dkv Document 40 Filed 05/08/12 Page 1 of 1   PageID 168



                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

OLIVER LEON ROGERS, individually
and on behalf of all others
similarly situated,
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )     No. 11-2120 Ma V
                                         )
FIRST TENNESSEE BANK,                    )
                                         )
       Defendant.                        )


                 ORDER DISMISSING CASE WITH PREJUDICE


      Before the Court is the parties' May 4, 2012 stipulation of

dismissal with prejudice. (D.E. 38).         For good cause shown, this

case is DISMISSED WITH PREJUDICE with each party to bear its own

fees and costs.

            It is so ORDERED this 8th day of May, 2012.



                                   s/Samuel H. Mays, Jr.
                                   SAMUEL H. MAYS, JR.
                                   UNITED STATES DISTRICT JUDGE
